   Case 2:17-cv-08251-JFW-MRW Document 2 Filed 11/13/17 Page 1 of 1 Page ID #:36

  NAME,ADDRESS,AND TELEPHONE NUMBER OF ATTORNEYS)
  OR OF PARTY APPEARING IN PRO PER
                                                                                                                                             i`~..'-+   T..
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  KEATING MUETHING & KLEKAMP PLL                                                                                                                        ~~y
                                                                                                                                              c~        ;  ,
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                                                                                                                             .`t + ~ _         ~
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 Phone:(213) 334-7000(Local Counsel)
 n~-roxNEr~s~ Fox: Relator Sandra
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA and STATE OF                                          CASE NUMBER:

CALIFORNIA ex rel. SANDRA FELTY,
                                                              Plaintiff(s),      ~• ~ ~ ~ ~ ~                    ~~ ~ ~~~ ~~~
                       ~.
UNIVERSITY OF SOUTHERN
                                                                                              CERTIFICATION AND NOTICE
CALIFORNIA d/b/a THE KECK HOSPITAL OF
                                                                                                OF INTERESTED PARTIES
USC,                                                                                                (LoC~ Rule 7.1-1)
                                                             Defendants)


TO:       THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                             Relator Sandra Felty
or party appearing in pro per, certifies t at t e o owing iste party or parties may ave a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                    CONNECTION /INTEREST
Sandra Felty                                                                  Relator

Keating Muething & Klekamp PLL (not a party to the action) Counsel for Relator

The Hesch Firm, LLC (not a party to the action)                               Counsel for Relator

The United States of America                                                  Plaintiff(prior to Intervention)

The State of California                                                       Plaintiff(prior to Intervention)

University of Southern California d/b/a The Keck Hospital ofDefendant
USC




         November 11, 2017
         Date



                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Relator Sandra Felty



CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
